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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND


MICHAEL A. LEWIS,
Individually and on Behalf of All Others
Similarly Situated,

       Plaintiff,
                                                            Civil Action No. TDC-15-2069
       v.

NEANY, INC.,

       Defendant.




                                              ORDER

       On July 15,2016, Plaintiff Michael A. Lewis filed a Complaint against Defendant Neany,

Inc. as a Fair Labor Standards Act ("FLSA") collective action (the "Action").     Counsel for Lewis

and counsel for Neany, Inc. have jointly applied to this Court for an order certifying the action as

a collective action and approving the settlement of the action in accordance with a Stipulation

and Settlement Agreement (the "Agreement"), ECF No. 20, which, together with the exhibits

annexed thereto, sets forth the terms and conditions for a proposed settlement.

       The Court has reviewed the Agreement and the exhibits annexed thereto. For the reasons

stated on the record at the May 3, 2016 hearing, it is hereby ORDERED that:

        1.      The FLSA claims asserted in this action may proceed as a collective action.

Should, for any reason, the settlement not become final, the fact that the parties were willing to

stipulate to the certification of a collective action as part of the settlement shall have no bearing

on, nor be admissible in connection with, the issue of whether a collective class should be

certified in a non-settlement context.
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          2.     The Court hereby grants preliminary approval of the FLSA collective action

settlement set forth in the Agreement as fair, adequate, and reasonable, and in the best interests

of the Named Plaintiff and the Plaintiff Class.

          3.     The law firm of Kleinbard LLC is appointed and designated as counsel for the

Plaintiff Class ("Class Counsel").    Class Counsel are authorized to act on behalf of all current

and former employees of Defendant who have worked as a UAV Logistician and performed

work as such within the United States at any time between July 15,2012 and July 15,2015 (the

"Plaintiff Class"), with respect to all acts or consents required by, or which may be given

pursuant to, the settlement,     and such other acts reasonably necessary to consummate        the

settlement.    Any potential members of the Plaintiff Class who opt-in to the settlement may enter

an appearance through counsel of their own choosing and at their own expense.       Any potential

members of the Plaintiff Class who do not enter an appearance through counsel, or indicate a

desire to represent themselves, will be represented by Class Counsel.

          4.     The Court approves, as to form and content, the Notice and Claim Form attached

hereto.

          5.     The Court confirms the retention of Angeion Group as Settlement Administrator.

          6.     Any potential members of the Plaintiff Class who wish to participate in the

settlement shall return their Claim Forms to the Settlement Administrator, postmarked no later

than June 20, 2016.      After opting in, any members of the Plaintiff Class may object to the

proposed settlement by filing written objections with the Court in advance of the settlement

hearing and/or by appearing and being heard at the settlement hearing.
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       7.     The Court will hold a hearing at 4:00 p.m. on July 11,2016, to consider whether

to enter a Final Judgment and Order approving the proposed settlement.




Date: May   L, 2016
